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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION
UNITED STATES OF AMERICA,                        )
                                                 )
          Plaintiff,                             )
                                                 )
    v.                                           )        No. 4:16-CR-00159-AGF
                                                 )
LOREN ALLEN COPP,                                )
                                                 )
          Defendant.                             )
                                                 )
                                               ORDER

         IT IS HEREBY ORDERED that the United States Marshals Service is directed to permit

Defendant and his stand-by attorney to photograph Defendant’s penis, while in Marshals custody,

on April 18, 2018, prior to commencement of trial on that date. In addition to Defendant and his

stand-by attorney, the attorneys-of-record for the Government in this case, along with their case

agents, may be present when any photographs are taken.

         Dated this 17th day of April, 2018.


                                                     __________________________________
                                                     AUDREY G. FLEISSIG
                                                     UNITED STATES DISTRICT JUDGE
